1                                                                                 Judge Marc L. Barreca
                                                                                               Chapter 7
2
                                                                       Hearing Location: Marysville, WA
3                                                                            Hearing Date: July 12, 2017
                                                                               Hearing Time: 10:00 a.m.
4                                                                           Response Date: July 5, 2017
5
                          IN THE UNITED STATES BANKRUPTCY COURT
6                   FOR THE WESTERN DISTRICT OF WASHINGTON, AT SEATTLE

7    In re:                                             )   Case No. 12-11140 MLB
                                                        )   Chapter 7
8
     KENT DOUGLAS POWELL and                            )
9    HEIDI POWELL,                                      )   TRUSTEE’S DECLARATION OF
                                                        )   SERVICE UPON GODADDY
10                 Debtors.                             )
                                                        )
11

12

13
          DENNIS LEE BURMAN declares under penalty of perjury under the laws of the State of

14   Washington that the following is true and correct to the best of my knowledge and belief:
15        I am the trustee in bankruptcy in this case. I am over eighteen years of age and competent
16
     to testify.
17
          On May 15, 2017 I emailed to GoDaddy at courtdisputes@godaddy.com the following
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19
     documents:

20        Trustee’s Motion to Assume Executory Contract;

21        Trustee’s Motion to Sell Domain Name and Associated Contract Rights;
22
          Trustee’s Notice of Hearing on Motion to Assume Executory Contract;
23
          Trustee’s Notice of Hearing on Motion to Sell Domain Name and Related Contract Rights;
24
          (proposed) Order Authorizing Trustee’s Assumption of Executory Contract; and
25

26        (proposed) Order Authorizing Sale of Domain Name and Related Contract Rights.

                                                                          Dennis Lee Burman, Attorney at Law
     TRUSTEE’S DECLARATION OF                                                              1103 Ninth Street
     SERVICE UPON GODADDY - 1                                                                 P.O. Box 1620
                                                                                       Marysville, WA 98270
                                                                                       Phone (360) 657-3332
                                                                                       Fax (360) 657-3522
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1    This emailing was done per GoDaddy’s website at
2
     https://ie.godaddy.com/agreements/showdoc.aspx?pageid=CIVIL_SUBPOENA
3
     that states:
4

5    “What is the best way to submit court documents to GoDaddy?

6    Litigation or legal dispute court documents can be sent to courtdisputes@godaddy.com. UDRP
     correspondence can be sent to UDRPdisputes@godaddy.com. Electronic copies via email are
7    preferred and do not need to be followed up with hard copies.”
8            That same website states that “GoDaddy will comply with any Order issued by a court of
9
     competent jurisdiction regarding the final disposition of the domain name or website at issue.”
10

11           Trustee has not received any objection from GoDaddy to Trustee’s motions.
12
                                         /s/ Dennis Lee Burman
13                                       ___________________________________
                                         DENNIS LEE BURMAN
14                                       Date: July 4, 2017 Place: Marysville, WA
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                                                                        Dennis Lee Burman, Attorney at Law
     TRUSTEE’S DECLARATION OF                                                            1103 Ninth Street
     SERVICE UPON GODADDY - 2                                                               P.O. Box 1620
                                                                                     Marysville, WA 98270
                                                                                     Phone (360) 657-3332
                                                                                     Fax (360) 657-3522
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